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 4                        UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
 6                                           ***
 7
                                                  )
 8   UNITED STATES OF AMERICA,                    )        2:12-CR-00063-PMP-CWH
                                                  )
 9                        Plaintiff,              )              ORDER
                                                  )
10          vs.                                   )
                                                  )
11   LELAND JONES,                                )
                                                  )
12                        Defendant.              )
                                                  )
13

14          IT IS ORDERED that Defendant Jones’ fully briefed Motion for Grand Jury
15   Records (Doc. #117) is GRANTED to the limited extent that the Government shall,
16   not later than May 23, 2013, produce under seal for the Court’s in camera review the
17   records of the Special Grand Jury which returned the Indictment in this case on
18   February 28, 2012 to enable the Court to confirm that the requisite number of Grand
19   Jurors present concurred in the return of the Indictment.
20          IT IS FURTHER ORDERED that Defendant Jones’ Motion (Doc. #117) is
21   DENIED in all other respects.
22

23   Dated: May 14, 2013.
24

25
                                                      PHILIP M. PRO
26                                                    United States District Judge
